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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA


                                                       Civ. No.: 19-cv-2559 (DWF/BRT)
ZACH McQUEEN and FRED
KRAUTKRAMER, individually and on
                                                    RULE 7.1(f) CERTIFICATE OF
behalf of others similarly situated,
                                                    COMPLIANCE REGARDING
                            Plaintiffs,           PLAINTIFFS’ MEMORANDUM OF
                                                     LAW IN OPPOSITION TO
            vs.
                                                 DEFENDANT'S MOTION TO DISMISS
YAMAHA MOTOR CORPORATION,                       THE SECOND AMENDED COMPLAINT
U.S.A.,
                              Defendant.



      I, David A. Goodwin, certify that Plaintiffs’ Memorandum of Law in Opposition

to Defendant Yamaha Motor Corporation, U.S.A.’s Motion to Dismiss The Second

Amended Class Action Complaint complies with Local Rule 7.1(f).

      I further certify that, in preparation of this memorandum, I used Microsoft Word

2016, and that this word processing program has been applied specifically to include all

text, including headings, footnotes, and quotations in the following word count.

      I further certify that the above referenced memorandum contains 6,201 words,

exclusive of the caption and signature block.

Dated: March 16, 2020                           Respectfully submitted,

                                                GUSTAFSON GLUEK PLLC

                                          By:   s/ David A. Goodwin
                                                David A. Goodwin (#386715)

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